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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     ---------------------------------------------------------------x
                                                                    :
     NIKE, INC.,                                                    :
                                                                    :
                                         Plaintiff,                 :
                                                                    :
                       v.                                           :       No. 22 CV 983 (VEC) (SN)
                                                                    :
     STOCKX LLC;                                                    :
                                                                    :
                                         Defendant.                 :
     ---------------------------------------------------------------x

     DECLARATION OF CHRISTOPHER S. FORD IN SUPPORT OF DEFENDANT’S
                   MOTION FOR SUMMARY JUDGMENT

         I, Christopher S. Ford, an attorney duly admitted in the State of New York, and not a

party to the above-captioned case, declare the following to be true under penalty of perjury:

1.       I am counsel for StockX LLC (“StockX”) in the above-captioned case, and as such I am

familiar with the facts and circumstances set forth herein.

2.       I submit this declaration in support of StockX’s Local Rule 56.1 Statement in Support of

StockX’s Motion for Summary Judgment.

3.       Attached as Exhibit 1 is a true and correct copy of the Expert Report of DeJongh “Dee”

Wells and associated Appendices A-B, dated May 5, 2023.

4.       Attached as Exhibit 2 is a true and correct copy of excerpts of the deposition transcript of

Heather Paulson, dated January 6, 2023.

5.       Attached as Exhibit 3 is a true and correct copy of excerpts of the deposition transcript of

Mike Child, dated December 9, 2022.
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6.     Attached as Exhibit 4 is a true and correct copy of the article, Phil Knight & Family,

from Bloomberg, which was obtained at my direction from

https://www.bloomberg.com/billionaires/profiles/philip-h-knight/.

7.     Attached as Exhibit 5 is a true and correct copy of the September 27, 2023 article,

Athletic footwear market dominated by Asia-Pacific with 42% share, by Andy Polk, from

Footwear Distributors & Retailers of America, which was obtained at my direction from

https://fdra.org/latest-news/athletic-footwear-market-dominated-by-asia-pacific-with-42-share/.

8.     Attached as Exhibit 6 is a true and correct copy of the March 30, 2018 article, It’s All

About the Shoes as Nike Releases Draw Crowds, by Bria Sanford, from The Famuan, which was

obtained at my direction from https://www.thefamuanonline.com/2018/03/30/its-all-about-the-

shoes-as-nike-releases-draw-crowds/.

9.     Attached as Exhibit 7 is a true and correct copy of the January 10, 2023 article, What are

Sneaker Raffles, How do They Work & Why do Retailers Use Them, from Queue-it, which was

obtained at my direction from https://queue-it.com/blog/sneaker-raffles/.

10.    Attached as Exhibit 8 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0026069-NIKE0026115.

11.    Attached as Exhibit 9 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0027914-NIKE0027975.

12.    Attached as Exhibit 10 is a true and correct copy of the October 26, 2018 article,

Investing In Sneakers Can Be a Better Investment Than Gold. Here’s How, by Julia Brucculieri,

from HuffPost Life, which was obtained at my direction from

https://www.huffpost.com/entry/sneakers-good-investment_n_5bd1f5ebe4b0d38b588143ee.




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13.    Attached as Exhibit 11 is a true and correct copy of excerpts of the deposition transcript

of Ron Faris, dated December 7, 2022.

14.    Attached as Exhibit 12 is a true and correct copy of the December 2, 2020 article, The

History of Sneaker Reselling and the Current State of the Game, by Matt Weinhold, from

Release, which was obtained at my direction from https://releaserecovery.com/the-history-of-

sneaker-reselling-and-the-current-state-of-the-game/.

15.    Attached as Exhibit 13 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0036631-NIKE0036667.

16.    Attached as Exhibit 14 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0035800-NIKE0035860.

17.    Attached as Exhibit 15 is a true and correct copy of the June 26, 2019 article, Buy Low-

Tops, Sell High-Tops: StockX Sneaker Exchange Is Worth $1 Billion, by Erin Griffith, from the

New York Times, which was obtained at my direction from

https://www.nytimes.com/2019/06/26/technology/trading-sneakers-stockx.html.

18.    Attached as Exhibit 16 is a true and correct copy of the “Campless” webpage on the

StockX website on August 7, 2024, which was obtained at my direction from

https://stockx.com/news/campless.

19.    Attached as Exhibit 17 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0773031-STX0773037.

20.    Attached as Exhibit 18 is a true and correct copy of the February 8, 2021 article, Five

Years of StockX, from StockX, which was obtained at my direction from

https://stockx.com/news/five-year-timeline/.




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21.    Attached as Exhibit 19 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0005790-NIKE0005795.

22.    Attached as Exhibit 20 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0000170-NIKE0000177.

23.    Attached as Exhibit 21 is a true and correct copy of the Expert Report of Catherine

Tucker and associated Appendices A-D, dated May 5, 2023.

24.    Attached as Exhibit 22 is a true and correct copy of the July 6, 2018 article, A Nasdaq for

Sneakerheads? StockX Aims to Tame ‘Chaos’ of Luxury Market, by Dan Hyman, from the New

York Times, which was obtained at my direction from

https://www.nytimes.com/2018/07/06/business/smallbusiness/stockx-sneakerheads-luxury-

goods.html.

25.    Attached as Exhibit 23 is a true and correct copy of excerpts of the deposition transcript

of Brock Huber, dated February 22, 2023.

26.    Attached as Exhibit 24 is a true and correct copy of excerpts of the deposition transcript

of Catherine Tucker, dated July 11, 2023.

27.    Attached as Exhibit 25 is a true and correct copy of excerpts of the deposition transcript

of DeJongh Wells, dated August 30, 2023.

28.    Attached as Exhibit 26 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0038834-NIKE0038836.

29.    Attached as Exhibit 27 is a true and correct copy of the November 26, 2018 article, This

Website is the Stock Market for Nikes and Rolexes, by Jacob Gallagher, from The Wall Street

Journal, which was obtained at my direction from www.wsj.com/articles/this-website-is-the-

stock-market-for-nikes-and-rolexes-1543251772.


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30.    Attached as Exhibit 28 is a true and correct copy of the December 16, 2021 article,

Sneaker Sellers Wrestle With Price Spikes After Virgil Abloh’s Death, by Jessica Testa, from the

New York Times, which was obtained at my direction from

https://www.nytimes.com/2021/12/16/style/sneakers-price-spikes-virgil-abloh.html.

31.    Attached as Exhibit 29 is a true and correct copy of the September 30, 2021 article, How

StockX Became the Biggest Sneaker Marketplace, by Lotte, from Sneaker Jagers, which was

obtained at my direction from https://www.sneakerjagers.com/en/n/how-stockx-became-the-

biggest-sneaker-marketplace/27074.

32.    Attached as Exhibit 30 is a true and correct copy of excerpts of the deposition transcript

of Kari Kammel, dated July 18, 2023.

33.    Attached as Exhibit 31 is a true and correct copy of the “Buying” webpage on the

StockX website on August 2, 2024, which was obtained at my direction from

https://stockx.com/about/buying.

34.    Attached as Exhibit 32 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0038817-NIKE0038821.

35.    Attached as Exhibit 33 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0040114-NIKE0040119.

36.    Attached as Exhibit 34 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0108368-STX0108369.

37.    Attached as Exhibit 35 is a true and correct copy of excerpts of the deposition transcript

of Russ Amidon, dated November 30, 2022.

38.    Attached as Exhibit 36 is a true and correct copy of excerpts of the deposition transcript

of Brock Huber, dated June 29, 2023.


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39.    Attached as Exhibit 37 is a true and correct copy of the “What is the StockX Buyer

Promise?” webpage on the StockX website on August 2, 2024, which was obtained at my

direction from https://stockx.com/help/articles/What-is-the-StockX-Buyer-Promise.

40.    Attached as Exhibit 38 is a true and correct copy of excerpts of the deposition transcript

of John L. Hansen, dated August 31, 2023.

41.    Attached as Exhibit 39 is a true and correct copy of Exhibit 6 from the deposition of

John L. Hansen, dated August 31, 2023.

42.    Attached as Exhibit 40 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0081418-NIKE0081419.

43.    Attached as Exhibit 41 is a true and correct copy of excerpts of the deposition transcript

of Yasir Malik, dated January 12, 2023.

44.    Attached as Exhibit 42 is a true and correct copy of excerpts of the deposition transcript

of Roy Ikhyun Kim, dated February 8, 2023.

45.    Attached as Exhibit 43 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0018453-STX0018499.

46.    Attached as Exhibit 44 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0021868-STX0021951.

47.    Attached as Exhibit 45 is a true and correct copy of the “StockX Snapshot: The State of

Resale” webpage on the StockX website on August 7, 2024, which was obtained at my direction

from https://stockx.com/news/state-of-resale.

48.    Attached as Exhibit 46 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0035759-NIKE0035793.




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49.    Attached as Exhibit 47 is a true and correct copy of excerpts of the deposition transcript

of Joe Pallett, dated February 8, 2023.

50.    Attached as Exhibit 48 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805953.

51.    Attached as Exhibit 49 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0025932-NIKE0025934.

52.    Attached as Exhibit 50 is a true and correct copy of the First Amended Expert Report of

John L. Hansen and Attachments 1, 2.U, 3.U, 4.U, 5.U, 6.U, 7, and 8.U, dated May 30, 2023.

53.    Attached as Exhibit 51 is a true and correct copy of the May 24, 2018 article, Nowadays,

Counterfeit Goods are ‘Almost Identical’ to the Real Thing, from The Fashion Law, which was

obtained at my direction from www.thefashionlaw.com/counterfeit-goods-are-almost-identical-

the-the-real-thing.

54.    Attached as Exhibit 52 is a true and correct copy of the August 19, 2010 article, Inside

the Knockoff-Tennis-Shoe Factory, by Nicholas Schmidle, from the New York Times, which was

obtained at my direction from https://www.nytimes.com/2010/08/22/magazine/22fake-t.html.

55.    Attached as Exhibit 53 is a true and correct copy of “The Official Real vs Fake

Comparison Thread” webpage on the NikeTalk website on August 2, 2024, which was obtained

at my direction from https://niketalk.com/threads/theofficial-real-vs-fake-comparison-

thread.690734.

56.    Attached as Exhibit 54 is a true and correct copy of the “Authenticity Guarantee”

webpage on the eBay website on August 7, 2024, which was obtained at my direction from

https://pages.ebay.com/authenticity-guarantee/.




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57.    Attached as Exhibit 55 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805901.

58.    Attached as Exhibit 56 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805880.

59.    Attached as Exhibit 57 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805882.

60.    Attached as Exhibit 58 is a true and correct copy of the “We Authenticate Every Item”

webpage on the TheRealReal website on August 6, 2024, which was obtained at my direction

from https://promotion.therealreal.com/therealreal-experts/#.

61.    Attached as Exhibit 59 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805899.

62.    Attached as Exhibit 60 is a true and correct copy of the “Assurance of Authenticity”

webpage on the GOAT website on August 2, 2024, which was obtained at my direction from

https://www.goat.com/verification.

63.    Attached as Exhibit 61 is a true and correct copy of the August 19, 2018 article, GOAT

Uses Machine Learning, Computer Vision to Verify Your Top Dollar Sneakers are Authentic, by

Larry Dignan, from ZDNet, which was obtained at my direction from

https://www.zdnet.com/article/goat-uses-machine-learning-computer-vision-to-verify-your-top-

dollar-sneakers-are-authentic/.

64.    Attached as Exhibit 62 is a true and correct copy of the February 25, 2024 article, Is

Flight Club Legit? Get All the Info to Help You Decide, from Niche Pursuits, which was obtained

at my direction from https://www.nichepursuits.com/is-flight-club-legit.




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65.    Attached as Exhibit 63 is a true and correct copy of the “Is Stadium Goods Legit?”

webpage on the Stadium Goods website on August 2, 2024, which was obtained at my direction

from https://www.stadiumgoods.com/en-us/article/is-stadium-goods-legit.

66.    Attached as Exhibit 64 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805884.

67.    Attached as Exhibit 65 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805883.

68.    Attached as Exhibit 66 is a true and correct copy of the “Authenticity” webpage on the

Stadium Goods website on August 5, 2024, which was obtained at my direction from

https://www.stadiumgoods.com/en-us/authenticity.

69.    Attached as Exhibit 67 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0805859-STX0805861.

70.    Attached as Exhibit 68 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805862.

71.    Attached as Exhibit 69 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0805863-STX0805879.

72.    Attached as Exhibit 70 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805890.

73.    Attached as Exhibit 71 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805891.

74.    Attached as Exhibit 72 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805892.




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75.    Attached as Exhibit 73 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0805896.

76.    Attached as Exhibit 74 is a true and correct copy of the “FAQ” webpage on the Sole

Supremacy website on August 7, 2024, which was obtained at my direction from

https://www.solesupremacy.com/pages/faq.

77.    Attached as Exhibit 75 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0752605-STX0752642.

78.    Attached as Exhibit 76 is a true and correct copy of excerpts of the deposition transcript

of John Lopez, dated February 23, 2023.

79.    Attached as Exhibit 77 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0040098-NIKE0040103.

80.    Attached as Exhibit 78 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0081426-NIKE0081427.

81.    Attached as Exhibit 79 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0005910-NIKE0005912.

82.    Attached as Exhibit 80 is a true and correct copy of the “Selling” webpage on the StockX

website on August 7, 2024, which was obtained at my direction from

https://stockx.com/about/selling.

83.    Attached as Exhibit 81 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0038783-NIKE0038788.

84.    Attached as Exhibit 82 is a true and correct copy of a document produced by Nike in this

matter and bearing the Bates number range NIKE0006776-NIKE0006781.




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85.    Attached as Exhibit 83 is a true and correct copy of the “StockX Big Facts 2023”

webpage on the StockX website on August 6, 2024, which was obtained at my direction from

https://stockx.com/about/sx-market-insights/big-facts-current-culture-index-2023/.

86.    Attached as Exhibit 84 is a true and correct copy of the “StockX Big Facts 2024”

webpage on the StockX website on August 6, 2024, which was obtained at my direction from

https://stockx.com/about/zh-tw/sx-market-insights/big-facts-current-culture-index-2024/.

87.    Attached as Exhibit 85 is a true and correct copy of the First Amended Complaint in the

above-captioned matter, dated May 25, 2022.

88.    Attached as Exhibit 86 is a true and correct copy of excerpts of the deposition transcript

of Jacob Fenton, dated December 2, 2022.

89.    Attached as Exhibit 87 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0058773-STX0058775.

90.    Attached as Exhibit 88 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190131-STX0190136.

91.    Attached as Exhibit 89 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190137-STX0190142.

92.    Attached as Exhibit 90 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190143-STX0190156.

93.    Attached as Exhibit 91 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190164-STX0190178.

94.    Attached as Exhibit 92 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190179-STX0190183.




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95.     Attached as Exhibit 93 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190187-STX0190194.

96.     Attached as Exhibit 94 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190195-STX0190201.

97.     Attached as Exhibit 95 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190202-STX0190209.

98.     Attached as Exhibit 96 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190210-STX0190216.

99.     Attached as Exhibit 97 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190217-STX0190223.

100.    Attached as Exhibit 98 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190224-STX0190230.

101.    Attached as Exhibit 99 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190231-STX0190238.

102.    Attached as Exhibit 100 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190260-STX0190270.

103.    Attached as Exhibit 101 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190271-STX0190283.

104.    Attached as Exhibit 102 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190284-STX0190294.

105.    Attached as Exhibit 103 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190295-STX0190300.




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106.    Attached as Exhibit 104 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190301-STX0190309.

107.    Attached as Exhibit 105 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0190310-STX0190332.

108.    Attached as Exhibit 106 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0069511-STX0069524.

109.    Attached as Exhibit 107 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0058670-STX0058693.

110.    Attached as Exhibit 108 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0058653-STX0058669.

111.    Attached as Exhibit 109 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0038806-STX0038847.

112.    Attached as Exhibit 110 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0023851-STX0023869.

113.    Attached as Exhibit 111 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0016991-STX0017023.

114.    Attached as Exhibit 112 is a true and correct copy of a document produced by Nike in

this matter and bearing the Bates number range NIKE0038955-NIKE0038959.

115.    Attached as Exhibit 113 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0018010-STX0018014.

116.    Attached as Exhibit 114 is a true and correct copy of the “True to You, True to Us”

webpage on the StockX website as it appeared on June 22, 2022, which was obtained at my




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direction from https://web.archive.org/web/20220622214117/https://stockx.com/news/true-to-

you-true-to-us-sxd22/.

117.    Attached as Exhibit 115 is a true and correct copy of the “Authentication” webpage on

the StockX website as it appeared on June 26, 2022, which was obtained at my direction from

https://web.archive.org/web/20220626083404/https://stockx.com/about/authentication/.

118.    Attached as Exhibit 116 is a true and correct copy of Nike’s Supplemental Responses to

StockX’s Third Set of Interrogatories, dated April 17, 2023.

119.    Attached as Exhibit 117 is a true and correct copy of StockX’s First Supplemental

Responses to Nike’s Third Set of Interrogatories, dated March 21, 2023.

120.    Attached as Exhibit 118 is a true and correct copy of a document produced by Nike in

this matter and bearing the Bates number range NIKE0000281-NIKE0000287.

121.    Attached as Exhibit 119 is a true and correct copy of the Expert Rebuttal Report of Sarah

Butler, dated June 2, 2023.

122.    Attached as Exhibit 120 is a true and correct copy of excerpts of the deposition transcript

of Sarah Butler, dated August 15, 2023.

123.    Attached as Exhibit 121 is a true and correct copy of the Expert Rebuttal Report of

Robert L. Vigil and the associated Exhibits 1, 2, 3, 4A, 4B, 4C, 4D, 4E, 5A, 5B, 5C, 5D, 6, 7, 8,

9A, 9B, 9C, 9D, 9E, 9F, 10A, and 10B, dated June 2, 2023.

124.    Attached as Exhibit 122 is a true and correct copy of excerpts of the deposition transcript

of Barbara Delli Carpini, dated January 10, 2023.

125.    Attached as Exhibit 123 is a true and correct copy of Nike’s Responses and Objections to

StockX’s 30(b)(6) Deposition Notice, dated November 29, 2022.




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126.    Attached as Exhibit 124 is a true and correct copy of the Expert Report of Robert L.

Vigil and Associated Exhibits 1, 2, 3A, 3B, 4A, 4B, 4C, 5A, and 5B, dated May 5, 2023.

127.    Attached as Exhibit 125 is a true and correct copy of excerpts of the deposition transcript

of Melanie Harris, dated January 19, 2023.

128.    Attached as Exhibit 126 is a true and correct copy of Nike’s Form 10-K for the fiscal

year ended May 31, 2022, which was obtained at my direction from

https://www.sec.gov/Archives/edgar/data/320187/000032018722000038/nke-20220531.htm.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

Dated: August 8, 2024
       San Francisco, CA
                                              By:     /s/ Christopher S. Ford
                                                      Christopher S. Ford




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